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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
==================================
U.S. Bank Trust N.A. as Trustee of
American Homeowner Preservation                                ANSWER
Trust series 2015A+,
                                                               22-cv-249
                       Plaintiff,
        v.

City of Buffalo, New York
and the Buffalo Sewer Authority,

                Defendants.
==================================

               Defendants, by their undersigned attorney, for their answer to plaintiff’s

complaint, upon information and belief allege:

        1.     Answering paragraph 1, deny that defendants’ alleged actions constitute a

taking, and lack knowledge or information sufficient to admit or deny the rest of the

allegations.

        2.     Lack knowledge or information sufficient to admit or deny the allegations

in paragraphs 2, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16 and 17.

        3.     Answering paragraph 3, admit that under New York law the City of

Buffalo is a municipal corporation and the Buffalo Sewer Authority is a public benefit

corporation.

        4.     The legal conclusions stated in paragraphs 4, 5, 6, 19, 20, 21, 22, 23, 24,

28, 29 and 30 are respectfully referred to the court for determination.

        5.     Repeat and reallege the answers to the allegations in paragraphs 18 and

27.

        6.     Deny the allegations in paragraphs 25, 26, 31 and 32.




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        7.        Deny each and every allegation in the complaint or part thereof not

specifically answered herein.

                                       FIRST DEFENSE

        8.        The complaint may fail to state a claim upon which relief can be granted.

                                     SECOND DEFENSE

        9.        The complaint may be barred, in whole or in part, by the applicable statute

of limitations.

                                      THIRD DEFENSE

        10.       The complaint may be barred, in whole or in part, by the doctrines of res

judicata and collateral estoppel.

                                     FOURTH DEFENSE

        11.       Personal jurisdiction may be lacking over the Buffalo Sewer Authority.

                                      FIFTH DEFENSE

        12.       Plaintiff may have failed to join necessary parties.

                                      SIXTH DEFENSE

        13.       The complaint may be barred, in whole or in part, by the prohibition

against gifts of public funds.

                                    SEVENTH DEFENSE

        14.       Plaintiff may lack standing.

                                     EIGHTH DEFENSE

        15.       Plaintiff’s claims may not be ripe for decision.




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                                   NINTH DEFENSE

         16.   The complaint may be barred, in whole or in part, by governmental

immunity.

                                PRAYER FOR RELIEF
               WHEREFORE, defendants request judgment dismissing plaintiff’s

complaint, together with the costs of this action including attorney’s fees, and such other

and further relief as the court deems just and proper.

Dated:         Buffalo, New York
               April 25, 2022
                                              Yours, etc.,

                                              Cavette A. Chambers
                                              Corporation Counsel
                                              Attorney for Defendants

                                      By:     s/Ilo N. Noble
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